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 5
                                   UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7    CANA FOUNDATION, a non-profit                    )
      corporation, LAURA LEIGH, individually, and      )     Case No. 2:22-cv-01200-CDS-BNW
 8    WILD HORSE EDUCATION, a nonprofit                )
      corporation,                                     )       Order Granting Joint Motion to
 9                                                     )
                                                       )        Extend the Briefing Deadlines
10                              Plaintiffs             )
                                                       )                 [ECF No. 66]
11      v.                                             )
                                                       )
12   UNITED STATES DEPARTMENT OF THE                   )
     INTERIOR, BUREAU OF LAND                          )
13   MANAGEMENT, and JON RABY, Nevada                  )
     State Director of the Bureau of Land              )
14   Management,                                       )
                                 Defendants            )
15
                                                       )
16

17           Based on the agreement of the parties, and good cause having been shown, the
18   parties’ Joint Motion to Extend the Briefing Deadlines for Plaintiffs’ Second Motion for
19   Judicial Notice [ECF No. 66] is GRANTED.
20           IT IS ORDERED that the briefing deadlines for Plaintiffs’ Second Motion for Judicial
21   Notice (ECF No. 65) are as follows:
22           Federal Defendants’ Response to Plaintiffs’          May 10, 2024
             Second Motion for Judicial Notice
23
             Plaintiffs’ Reply in Support of their                May 24, 2024
24
             Second Motion for Judicial Notice
25

26           Dated: April 19, 2024
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                                                           U.S. District Judge Cristina D. Silva
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